                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

TERRY LYNN KING,                                     )
                                                     )
       Plaintiff,                                    )       CAPITAL CASE
                                                     )
v.                                                   )       Case No. 3:18-cv-01234
                                                     )
LISA HELTON, et al.,                                 )       JUDGE CAMPBELL
                                                     )
       Defendants.                                   )




DONALD MIDDLEBROOKS,                                 )
                                                     )
       Plaintiff,                                    )       CAPITAL CASE
                                                     )
v.                                                   )       Case No. 3:19-cv-01139
                                                     )
LISA HELTON, et al.,                                 )       JUDGE CAMPBELL
                                                     )
       Defendants.                                   )



                        NOTICE OF WITHDRAWAL OF COUNSEL


       Pursuant to Local Rule 83.01(g), the undersigned notices his withdrawal as counsel for

Defendants, and states that Defendants are still being represented by other attorneys of record from

the Office of the Attorney General and Reporter.

                                              Respectfully submitted,

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                                              Attorney General and Reporter

                                              /s/ Dean S. Atyia
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                                              Managing Attorney | Assistant Attorney General
                                              Law Enforcement and
                                              Special Prosecutions Division


 Case 3:19-cv-01139         Document 83        Filed 08/15/23     Page 1 of 4 PageID #: 1406
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Case 3:19-cv-01139   Document 83   Filed 08/15/23    Page 2 of 4 PageID #: 1407
                                CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of the foregoing has been filed electronically with the

Court and served by CM/ECF to the following, on this 15th day of August, 2023:

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 Case 3:19-cv-01139     Document 83   Filed 08/15/23      Page 4 of 4 PageID #: 1409
